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                       Exhibit 16
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                                                                                         Commison    Commission   (Company Code           (Project Code for     PTS/ Other
Financial Period        Pay Date                Class   Employee             Qtr Draw                                                                                                   Closed                  Draw Paid
                                                                                         Accrued     Paid         from PTS) Pivot         Exponent Allocation   Description
Balance Prior to 2022   Balance Prior to 2022   TERM    zzMCALISTER, RIKKI   198494.95   81247.5     46355.18     Balance Prior to 2022   HOMBLV                Balance Prior to 2022   Balance Prior to 2022   14340.74
Balance Prior to 2022   Balance Prior to 2022   TERM    zzMCALISTER, RIKKI   0           504195      458065       Balance Prior to 2022   HOMCHE                Balance Prior to 2022   Balance Prior to 2022   59538.66
Balance Prior to 2022   Balance Prior to 2022   TERM    zzMCALISTER, RIKKI   0           138397.5    103527.5     Balance Prior to 2022   HOMSIP                Balance Prior to 2022   Balance Prior to 2022   37384.74
Balance Prior to 2022   Balance Prior to 2022   TERM    zzMCALISTER, RIKKI   0           10447.5     10447.5      Balance Prior to 2022   HOMSHR                Balance Prior to 2022   Balance Prior to 2022   0
Balance Prior to 2022   Balance Prior to 2022   TERM    zzMCALISTER, RIKKI   0           231321.25   202718.62    Balance Prior to 2022   HOMBV4                Balance Prior to 2022   Balance Prior to 2022   23953.92
Balance Prior to 2022   Balance Prior to 2022   TERM    zzMCALISTER, RIKKI   0           256438.75   234187.5     Balance Prior to 2022   HOMLCC                Balance Prior to 2022   Balance Prior to 2022   19384.68
Balance Prior to 2022   Balance Prior to 2022   TERM    zzMCALISTER, RIKKI   0           482405.25   399481       Balance Prior to 2022   HOMSCF                Balance Prior to 2022   Balance Prior to 2022   42923.22
44592                   44568                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1384.62
44592                   44568                   TERM    zzMCALISTER, RIKKI                           12372.5      0                       HOMSCF                SCF 1-5-1 Lainez
44592                   44568                   TERM    zzMCALISTER, RIKKI                           11758        0                       HOMSCF                SCF 1-5-16 Bhattarai
44592                   44568                   TERM    zzMCALISTER, RIKKI                           11898        0                       HOMSCF                SCF 1-5-2 Yauwana
44592                   44568                   TERM    zzMCALISTER, RIKKI                           10118        0                       HOMSCF                Mildenberger
44592                   44582                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1384.62
44592                   44582                   TERM    zzMCALISTER, RIKKI                           5029         0                       HOMSCF                SCF 1-6-20 Freidel
44592                                           TERM    zzMCALISTER, RIKKI               11118                    0                       HOMSCF                SCF 1-5-13 Jefferson
44592                                           TERM    zzMCALISTER, RIKKI               5579                     0                       HOMSCF                SCF 1-5-26 Rascon
44592                                           TERM    zzMCALISTER, RIKKI               5936.25                  0                       HOMSCF                SCF 1-5-7 Cherry
44592                                           TERM    zzMCALISTER, RIKKI               11258                    0                       HOMSCF                SCF 1-5-8 Chettry
44592                                           TERM    zzMCALISTER, RIKKI               11758                    0                       HOMSCF                SCF 1-5-9 Vigil
44620                   44596                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1384.62
44620                   44596                   TERM    zzMCALISTER, RIKKI                           11118        0                       HOMSCF                SCF 1-5-13 Jefferson
44620                   44596                   TERM    zzMCALISTER, RIKKI                           5936.25      0                       HOMSCF                SCF 1-5-7 Cherry
44620                   44596                   TERM    zzMCALISTER, RIKKI                           11758        0                       HOMSCF                SCF 1-5-9 Vigil
44620                   44596                   TERM    zzMCALISTER, RIKKI                           7837         0                       HOMSCF                commission less draw
44592                                           TERM    zzMCALISTER, RIKKI               5439                     0                       HOMSCF                Washington
44620                   44610                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1384.62
44620                   44610                   TERM    zzMCALISTER, RIKKI                           5439         0                       HOMSCF                Washington
44651                   44624                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1384.62
44651                   44638                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1384.62
44651                   44652                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1384.62
44651                                           TERM    zzMCALISTER, RIKKI   9000                                 0                       HOMBLV                Draw 1st Qtr 2022
44681                   44665                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1384.62
44681                   44680                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44712                   44694                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44712                   44708                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44742                   44722                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44712                                           TERM    zzMCALISTER, RIKKI               11098                    0                       HOMSCF                SCF 1-5-14 Fosu
44742                   44736                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44742                   44736                   TERM    zzMCALISTER, RIKKI                           2098         0                       HOMSCF                less draw
44773                   44750                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44742                                           TERM    zzMCALISTER, RIKKI   9000                                 0                       HOMBLV                Draw 2nd Qtr 2022
44773                   44764                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44804                   44778                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44804                   44792                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44804                   44806                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44834                   44820                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44834                   44834                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44834                                           TERM    zzMCALISTER, RIKKI   9000                                 0                       HOMBLV                Draw 3rd Qtr 2022
44865                   44848                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1384.62
44865                   44862                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            2076.93
44895                   44875                   TERM    zzMCALISTER, RIKKI                                        0                       HOMBEF                Draw                                            1846.16
44895                   44888                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1846.16
44926                   44904                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1846.16
44926                   44918                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1846.16
44957                   44932                   TERM    zzMCALISTER, RIKKI                                        0                       HOMSCF                Draw                                            1846.16
44926                                           TERM    zzMCALISTER, RIKKI   12000                                0                       HOMBLV                Draw 4th Qtr 2022


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                                                                        Commison     Commission    (Company Code     (Project Code for     PTS/ Other
Financial Period   Pay Date    Class   Employee             Qtr Draw                                                                                             Closed       Draw Paid
                                                                        Accrued      Paid          from PTS) Pivot   Exponent Allocation   Description
44957              44946       TERM    zzMCALISTER, RIKKI                                          0                 HOMSCF                Draw                               1846.16
44985              44960       TERM    zzMCALISTER, RIKKI                                          0                 HOMSCF                Draw                               1846.16
44957                          TERM    zzMCALISTER, RIKKI               11038                      0                 HOMSCF                SCF 2-2-1 Villescas
44985              44974       TERM    zzMCALISTER, RIKKI                                          0                 HOMSCF                Draw                               1661.58
44985                          TERM    zzMCALISTER, RIKKI               5519                       0                 HOMSCF                SCF 2-2-6 Bustillos
45016                          TERM    zzMCALISTER, RIKKI   5769.66                                0                 HOMBLV                Draw 1st Qtr 2023
                                                            243264.61   1783196      1550144.05                                                                               243264.61

                                       Draw Balance         -10213
                                                                        From Check                                                                               From Check
                                                                        Stubs:                                                                                   Stubs:
                                                                        2016         31937.687                                                                   2016         25417.7
                                                                        2017         167178.75                                                                   2017         36000.12
                                                                        2018         369448.75                                                                   2018         36000.12
                                                                        2019         137441.22                                                                   2019         28107.78
                                                                        2020         311482.4                                                                    2020         36000.12
                                                                        2021         437293.5                                                                    2021         36000.12
                                                                        2022         95361.75                                                                    2022         38538.59
                                                                        2023         0                                                                           2023         7200.06
                                                                                     1550144.057                                                                              243264.61




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